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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

AMERICAN INCOME LIFE                    )
INSURANCE COMPANY,                      )   Misc. Action No.:
                                        )
      Petitioner,                       )   Hon.:
                                        )
v.                                      )
                                        )
FFL ONYX, LLC                           )
                                        )
      Respondent.                       )


                            INDEX OF EXHIBITS

Exhibit A- Subpoena to Produce Documents

Exhibit B- Verified Return of Service
